              19-12346-shl                  Doc 304             Filed 07/09/20 Entered 07/09/20 16:40:37                                    Main Document
                                                                             Pg 1 of 3
  Fill in this information to identify the case:

  Debtor 1              Liddle & Robinson, LLP


  Debtor 2               ________________________________________________________________
  (Spouse, if filing)
 _
         United States Bankruptcy Court Southern       New York
 _
 _
                   19-12346(SHL)
 _Case number ___________________________________________
  _

 Official Form 410
 Proof of Claim
 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current                    Chapter 7 estate of Jeffrey Lew Liddle (19-10747) by Chapter 7 Trustee Angela Tese-Milner appointed. 6/24/2020
   creditor?                             ___________________________________________________________________________________________________________
                                         Name of the current creditor (the person or entity to be paid for this claim)

                                         Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been                      xXNo
   acquired from
   someone else?                              Yes. From whom?        ______________________________________________________________________________________________________



3. Where should notices                  Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                               different)
   creditor be sent?                          Angela Tese-Milner as Trustee
                                         _____________________________________________________                               Same
                                                                                                                     _____________________________________________________
   Federal Rule of                       Name                                                                        Name
   Bankruptcy Procedure                        735 Wickham Avenue PO Box 35
   (FRBP) 2002(g)                        ______________________________________________________                      ______________________________________________________
                                         Number       Street                                                         Number      Street
                                              Mattituck New York 11952
                                         ______________________________________________________                      ______________________________________________________
                                         City                          State          ZIP Code                       City                       State             ZIP Code

                                                           212     4753673
                                         Contact phone    ________________________                                   Contact phone   ________________________

                                         Contact email             atmtrustee@gmail.com
                                                           ________________________                                  Contact email   ________________________



                                         Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                         __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __

                                        X
4. Does this claim amend                     No
   one already filed?
                                             Yes. Claim number on court claims registry (if known) ________                                Filed on   ________________________
                                                                                                                                                      MM / DD       / YYYY



5. Do you know if anyone                X    No
   else has filed a proof                    Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




  Official Form 410                                                                Proof of Claim                                                             page 1
           19-12346-shl           Doc 304           Filed 07/09/20 Entered 07/09/20 16:40:37                               Main Document
                                                                 Pg 2 of 3

 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number X           No
   you use to identify the            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ____ ____ ____ ____
   debtor?



7. How much is the claim?                Unliquidated
                                      $_____________________________. Does this amount include interest or other charges?
                                                                       X No
                                                                                Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                     charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.
                                                 Any and all claims that the Debtor may have against his former business including but not limited to refunds,
                                                 reimbursement
                                                 e                of expenses, compensation, contribution, indemnification ,repayment of tax liabilities,
                                 ______________________________________________________________________________
                                               etc.



9. Is all or part of the claim    X
                                      No
   secured?                           Yes. The claim is secured by a lien on property.
                                            Nature of property:
                                                Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                             Attachment (Official Form 410-A) with this Proof of Claim.
                                                Motor vehicle
                                                Other. Describe:           _____________________________________________________________



                                            Basis for perfection:         _____________________________________________________________
                                            Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                            example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                            been filed or recorded.)



                                            Value of property:                           $__________________
                                            Amount of the claim that is secured:         $__________________

                                            Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                       amounts should match the amount in line 7.)



                                            Amount necessary to cure any default as of the date of the petition:          $____________________



                                            Annual Interest Rate (when case was filed)_______%
                                                Fixed
                                                Variable


                                  X
10. Is this claim based on a          No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.           $____________________


11. Is this claim subject to a   X
                                      No
    right of setoff?
                                      Yes. Identify the property: ___________________________________________________________________




 Official Form 410                                                   Proof of Claim                                                          page 2
           19-12346-shl              Doc 304              Filed 07/09/20 Entered 07/09/20 16:40:37                                     Main Document
                                                                       Pg 3 of 3

12. Is all or part of the claim     X No
    entitled to priority under
    11 U.S.C. § 507(a)?                   Yes. Check one:                                                                                         Amount entitled to priority

   A claim may be partly                      Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                             $____________________
   nonpriority. For example,
   in some categories, the                    Up to $2     * of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                         $____________________
   entitled to priority.
                                              Wages, salaries, or commissions (up to $12,        *) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                  $____________________
                                              11 U.S.C. § 507(a)(4).
                                              Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                              $____________________

                                              Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                  $____________________

                                              Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                  $____________________

                                          * Amounts are subject to adjustment on 4/01/1 and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                        I am the creditor.
 FRBP 9011(b).                     I am the creditor’s attorney or authorized agent.
 If you file this claim        X I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts      I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
 18 U.S.C. §§ 152, 157, and I declare under penalty of perjury that the foregoing is true and correct.
 3571.                                              7/09/2020
                              Executed on date _________________
                                                           MM / DD    /   YYYY




                                     ________________________________________________________________________
                                       Signature
                                  The Trustee reserves her right to amend this claim.
                                  Print the name of the person who is completing and signing this claim:

                                                           Angela                    Grace                         Tese-Milner
                                  Name                   _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                    as Chapter 7 Trustee
                                                         _______________________________________________________________________________________________

                                  Company                _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.


                                                          735 Wickham Avenue PO Box 35
                                  Address                _______________________________________________________________________________________________
                                                         Number         Street

                                                          Mattituck                                                  11952
                                                                                                      New York
                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone          212 475 3673
                                                         _____________________________                              Email         atmtrustee@gmail.com
                                                                                                                                  ____________________________________




 Official Form 410                                                          Proof of Claim                                                                page 3
